16-10407-dsj       Doc 348     Filed 12/19/16 Entered 12/19/16 17:50:43         Main Document
                                            Pg 1 of 5



SCHULTE ROTH & ZABEL LLP
919 Third Avenue
New York, New York 10022
Tel: 212-756-2000
Fax: 212-593-5955
Adam C. Harris, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                     )
In re:                               )
                                     )
TRANSCARE CORPORATION, et al.        )               Chapter 7
                                     )               Case No. 16-10407 (SMB)
            Debtors.                 )               (Jointly Administered)
____________________________________)


    OBJECTIONS OF SCHULTE ROTH & ZABEL LLP TO THE MOTION OF
  RANDY J. CRESWELL, ESQ. AND PERKINS THOMPSON, P.A. TO WITHDRAW
     AS COUNSEL FOR PATRIARCH PARTNERS AGENCY SERVICES, LLC

          Schulte Roth & Zabel LLP (“SRZ”) hereby files its Objection (the “Objection”) to the

Motion of Randy J. Creswell, Esq. and Perkins Thompson, P.A. to Withdraw as Counsel for

Patriarch Partners Agency Services, LLC (“PPAS”) [Dkt. No. 326] (the “Withdrawal Motion”)

and respectfully states as follows:

          1.     SRZ submits this Objection to the Withdrawal Motion because its premise, that

the orderly administration and prosecution of these cases will not be affected by Mr. Creswell’s

and Perkins Thompson’s withdrawal because SRZ will be representing PPAS going forward, is

incorrect. SRZ’s engagement by Patriarch Partners Agency Services (“PPAS”) has terminated

and thus SRZ will not be representing PPAS (or any of its affiliates) in these cases—or any other

action.
16-10407-dsj     Doc 348     Filed 12/19/16 Entered 12/19/16 17:50:43            Main Document
                                          Pg 2 of 5



                                          Background

       2.      On February 24, 2016, TransCare Corporation, TC Ambulance Group, Inc., TC

Ambulance North, Inc., TC Billing and Services Corp., TCBA Ambulance, Inc., TransCare

Harford County, Inc., TransCare Management Services, Inc., TransCare Maryland, Inc.,

TransCare ML, Inc., TransCare New York, Inc., and TransCare Westchester, Inc. (“Debtors”)

filed voluntary petitions for relief under Chapter 7 of the United States Bankruptcy Code in this

Court. This Court ordered that Debtors’ cases be jointly administered on March 1, 2016 [Dkt.

No. 17].

       3.      On February 29, 2016, Randy J. Creswell, Esq. filed a Motion for Admission to

Practice, Pro Hac Vice [Dkt. No. 10], to represent PPAS, which this Court granted on

March 1, 2016 [Dkt. No. 14].

       4.      Mr. Creswell and Perkins Thompson have represented PPAS in its capacity as a

party in interest in the above-captioned cases since their commencement. Among other things,

on February 29, 2016, Mr. Creswell filed the Response of Patriarch Partners Agency Services,

LLC to Motion for the Entry of an Order, Pursuant to 11 U.S.C. §§ 105 and 721, Authorizing the

Chapter 7 Trustee to Operate the Debtors’ Businesses and Pay Certain Operating Expenses of

These Estates [Dkt. No. 11.] Mr. Creswell also negotiated the Stipulation Respecting the Sale of

Certain Personal Property, dated March 10, 2016 [Dkt. No. 52-1] that was approved by order of

this Court dated March 25, 2016 [Dkt. No. 52]. Mr. Creswell also filed the Response of

Patriarch Partners Agency Services, LLC to the Chapter 7 Trustee’s Motion to Approve

Stipulation and for the Public Auction Sale of Certain Personal Property on March 23, 2016 on

behalf of PPAS [Dkt. No. 49]. And on October 3, 2016, Mr. Creswell filed the Motion of
16-10407-dsj        Doc 348       Filed 12/19/16 Entered 12/19/16 17:50:43                    Main Document
                                               Pg 3 of 5



Patriarch Partners Agency Services, LLC to Compel Turnover of Proceeds from the Sale of

Certain Personal Property [Dkt. No. 284] (the “Motion to Compel”).

        5.       PPAS and certain of its affiliates have sought SRZ’s assistance on two discrete

matters in these cases. First, PPAS requested SRZ’s assistance in responding to the Motion of

Zohar CDO 2003-1, Ltd., Zohar II 2005-1 Ltd. And Zohar III Ltd. For Entry of an Order

Authorizing and Directing Discovery, Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure, From (I) the Debtors, and (II) the Patriarch Entities, dated May 16, 2016 [Dkt. No.

138]. That contested matter was concluded by this Court’s denial of the relief requested in the

Motion.

        6.       Second, PPAS sought SRZ’s assistance in responding to the Chapter 7 Trustee’s

Response and Objection to the Motion of Patriarch Partners Agency Services, LLC to Compel

the Turnover of Proceeds from the Sale of Certain Personal Property, dated October 25, 2016

[Dkt. No. 290] and the Zohar Funds’ Opposition to Motion to Compel Turnover of Proceeds

[Dkt. No. 292] and Declaration of Elizabeth A. LaPuma in Opposition to Motion to Compel,

dated October 25, 2016 [Dkt. No. 291].

        7.       On October 31, 2016, SRZ filed the Reply of Patriarch Partners Agency Services,

LLC in Support of Motion to Compel Turnover of Proceeds From the Sale of Certain Personal

Property [Dkt No. 295]. Based on subsequent discussions with counsel for the Trustee, this

matter has also now been concluded by PPAS’s agreement to withdraw the Motion to Compel

without prejudice. 1




1
         The Motion to Compel will be withdrawn upon execution of a stipulation with the Trustee, the substantive
terms of which have been agreed.
16-10407-dsj     Doc 348      Filed 12/19/16 Entered 12/19/16 17:50:43           Main Document
                                           Pg 4 of 5



                                    The Withdrawal Motion

       8.      Mr. Creswell filed a motion to withdraw as counsel for PPAS on

December 1, 2016 [Dkt. No. 326]. In that motion, he asserts that SRZ “and not Perkins

Thompson, will represent PPAS’s interest in these cases going forward.” [Dkt. No. 326 at ¶ 8.]

He also asserts that “PPAS and Perkins Thompson have agreed that PPAS would discharge

Perkins Thompson as its counsel in these cases” and that PPAS and Perkins Thompson agreed

that SRZ would represent PPAS’s interests in these cases going forward. [Id. at ¶ 11.]

       9.      SRZ was never consulted about PPAS’s general “discharge” of Mr. Creswell and

Perkins Thompson, and their agreement that SRZ would represent PPAS’s interests going

forward (only that SRZ would assist with the Motion to Compel). [Dkt. No. 326.]

       10.     SRZ will not be representing PPAS’s interests going forward. Nor will SRZ be

representing any interests of PPAS’s affiliates (including Patriarch Partners LLC, Patriarch

Partners VIII, LLC, Patriarch Partners XIV, LLC, and Patriarch Partners XV, LLC, collectively

with PPAS the “Patriarch Entities”) in this or any other action going forward.

       11.     Contemporaneously with this objection, SRZ is withdrawing as counsel in each

and every action in which it currently represents any of the Patriarch Entities, including PPAS,

due to the termination of SRZ’s engagement on all such matters resulting from irreconcilable

differences and a complete breakdown of the attorney-client relationship.

       12.     Therefore the premise of the Withdrawal Motion, that Mr. Creswell’s withdrawal

will not disrupt the prosecution or orderly administration of these cases because SRZ will be

representing PPAS’s interests, is incorrect.
16-10407-dsj   Doc 348   Filed 12/19/16 Entered 12/19/16 17:50:43   Main Document
                                      Pg 5 of 5



New York, New York
December 19, 2016


                                        SCHULTE ROTH & ZABEL LLP


                                        By: /s/Adam Harris
                                            Member of the Firm

                                        919 Third Avenue
                                        New York, New York 10022
                                        Tel: 212-756-2000
                                        Fax: 212-593-5955
